        Case 4:20-cv-00167-BRW Document 36 Filed 10/20/20 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

JEFFREY D HART                                                             PETITIONER
ADC #155857

V.                            CASE NO. 4:20-cv-00167-BRW-JTK

DEXTER PAYNE
Director, ADC                                                             RESPONDENT

                                      JUDGMENT

      Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED,

and ADJUDGED that the petition for writ of habeas corpus is DENIED. Hart’s Brady and

Ineffective Assistance of Counsel claims are DISMISSED WITHOUT PREJUDICE, and the

remainder of his claims are DISMISSED WITH PREJUDICE.

      IT IS SO ORDERED this 20th day of October, 2020.



                                                Billy Roy Wilson_________________
                                                UNITED STATES DISTRICT JUDGE
